       Case 1:11-cv-00922-RJA Document 8 Filed 07/17/12 Page 1 of 3



IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

LATCHMIE TOOLASPRASHAD,

                       Plaintiff,

           v.                                      11-CV-0922Sc

IMMIGRATION & CUSTOMS ENFORCEMENT,

                       Defendant.



                 NOTICE OF MOTION AND MOTION TO DISMISS


     PLEASE     TAKE   NOTICE   that   the   defendant,   United      States
Immigration and Customs Enforcement, by its attorney, William J.
Hochul, Jr., United States Attorney for the Western District of New
York, Gail Y. Mitchell, Assistant United States Attorney, of
Counsel, will move this Court, on such date as the Court may set,
for an Order dismissing this case and for summary judgment pursuant
to Rules 12(b)(1), (b)(6) and (d) of the Federal Rules of Civil
Procedure as follows:

     (1)   dismissing the complaint of plaintiff Latchmie
           Toolasprashad for lack of subject matter
           jurisdiction;

     (2)   dismissing the complaint of plaintiff Latchmie
           Toolasprashad for failure to state a claim upon
           which relief can be granted;

     (3)   in the alternative, for summary judgment in favor
           of the defendant; and

     (4)   for such other and further relief as to the Court
           seems just and proper.
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      For this motion defendant relies upon the Declaration of Ryan
Law   executed   on   July     10,    2012,    with   its   attachments;    the
Declaration of Jill A. Eggleston, executed on July 3, 2012, with
its   attachments,    both    of     which   declarations   are   being    filed
separately herewith.         Defendant also relies upon its supporting
Memorandum of Law, which is also being filed separately.


      DATED: Buffalo, New York, July 17, 2012.

                                       Respectfully submitted,


                                       WILLIAM J. HOCHUL, JR.
                                       United States Attorney


                               BY:     /s/GAIL Y. MITCHELL
                                       Assistant United States Attorney
                                       United States Attorney's Office
                                       Western District of New York
                                       138 Delaware Avenue
                                       Buffalo, New York 14202
                                       (716) 843-5800 Ext. 833
                                       Gail.Y.Mitchell@usdoj.gov




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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NEW YORK

LATCHMIE TOOLASPRASHAD,

                      Plaintiff,

          v.                                       11-CV-0922Sc

IMMIGRATION & CUSTOMS ENFORCEMENT,

                      Defendant.



                        CERTIFICATE OF SERVICE


     I hereby certify that on July 17, 2012, I electronically filed

the foregoing NOTICE OF MOTION AND MOTION TO DISMISS with the Clerk

of the District Court using its CM/ECF system, and I mailed the

foregoing, by the United States Postal Service, to the following

non-CM/ECF participant:


          LATCHMIE TOOLASPRAHAD
          #35648936
          Buffalo Federal Detention Facility
          4250 Federal Drive
          Batavia, New York 14020


                                       /s/MARQUITTA R. WHITEHEAD
                                       Legal Assistant
